 Fill in this information to identify the case:
 Debtor 1    Peter Ventura

 Debtor 2    Lisa Ventura

 (Spouse, if filing)

 United States Bankruptcy Court for the NORTHERN District of OHIO

 Case number 15-14981-aih

Official Form 410S1
Notice of Mortgage Payment Change                                                                                                                   12/15
If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor’s
principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form as a supplement
to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.

Name of creditor: NewRez LLC d/b/a Shellpoint Mortgage                            Court claim no. (if known): 4-1
Servicing
Last 4 digits of any number you use to                                            Date of payment change: 9/1/2020
identify the debtor’s account: 3488                                               Must be at least 21 days after date
                                                                                  of this notice

                                                                                  New total payment: $749.39
                                                                                  Principal, interest, and escrow, if any

 Part 1:       Escrow Account Payment Adjustment

 1.      Will there be a change in the debtor’s escrow account payment?

         □ No.
         ■ Yes.         Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                        the basis for the change. If a statement is not attached, explain why:
                        ________________________________________________________________________________________________________
                        ____________________________________

         Current escrow payment: $292.83                              New escrow payment: $304.71


 Part 2:       Mortgage Payment Adjustment

 2.      Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
          variable-rate account?

         ■ No
         □ Yes.        Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not attached,
                         explain why:
                         _______________________________________________________________________________________________________
                         __________________________________________________________________________________

         Current interest rate:                                     New interest rate:

         Current principal and interest payment:           New principal and interest payment:


 Part 3:       Other Payment Change

 3.      Will there be a change in the debtor's mortgage payment for a reason not listed above?

         ■ No
         □ Yes         Attach a copy of any document describing the basis for the change, such as a repayment plan or loan modification agreement.
                       (Court approval may be required before the payment change can take effect.)

                       Reason for change: ________________________________________________________________________________

         Current mortgage payment                           New mortgage payment:




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Debtor 1 Peter Ventura                                                Case number (if known) 15-14981-aih
           Print Name        Middle Name    Last Name




 Part 4:      Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.

 Check the appropriate box.
      □ I am the creditor
      ■ I am the creditor’s authorized agent.

 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my knowledge,
 information, and reasonable belief.

     /s/ Alexa  Martini Stinson
         ______________________                            August 3, 2020
                                                   Date ________________________
     Signature


                    Alexa Martini Stinson
  Print             _____________________________________________                                       Title   Authorized Agent for Creditor
                    First Name                     Middle Name       Last Name


  Company           Robertson, Anschutz, Schneid & Crane LLC


  Address           10700 Abbott's Bridge Road, Suite 170
                    Number       Street


                    Duluth GA 30097
                    City                                                  State        ZIP Code
                                                                                                                astinson@rascrane.com
  Contact Phone     470-321-7112                                                                        Email _____________________________




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                                        CERTIFICATE OF SERVICE

               I HEREBY CERTIFY that on August 5, 2020, I electronically filed the foregoing with the
Clerk of Court using the CM/ECF system, and a true and correct copy has been served via United States Mail to
the following:

Peter Ventura
7565 Malibu Drive
Parma, OH 44130

Lisa Ventura
7565 Malibu Drive
Parma, OH 44130

And via electronic mail to:

Lee R. Kravitz
4508 State Rd
Cleveland, OH 44109

Lauren A. Helbling
200 Public Square Suite 3860
Cleveland, OH 44114-2321

                                                   Robertson, Anschutz, Schneid & Crane LLC
                                                   Authorized Agent for Secured Creditor
                                                   10700 Abbott's Bridge Road, Suite 170
                                                   Duluth, GA 30097
                                                   Telephone: 470-321-7112
                                                   Facsimile: 404-393-1425

                                                   By: /s/   Alexa Martini Stinson
                                                             astinson@rascrane.com




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